Case 1:21-cr-00596-BAH Document 74 Filed 04/22/22 Page 1 of 7
Case 1:21-cr-00596-BAH Document 74 Filed 04/22/22 Page 2 of 7
Case 1:21-cr-00596-BAH Document 74 Filed 04/22/22 Page 3 of 7
Case 1:21-cr-00596-BAH Document 74 Filed 04/22/22 Page 4 of 7
Case 1:21-cr-00596-BAH Document 74 Filed 04/22/22 Page 5 of 7
Case 1:21-cr-00596-BAH Document 74 Filed 04/22/22 Page 6 of 7
Case 1:21-cr-00596-BAH Document 74 Filed 04/22/22 Page 7 of 7
